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IN RE: OIL SPILL by the OIL RIG                 §                     MDL No. 2179
       “DEEPWATER HORIZON” in the               §
       GULF OF MEXICO on                        §                      SECTION: J
       APRIL 20, 2010                           §
                                                §                Judge Carl J. Barbier
                 Applies to:                    §            Magistrate Judge Sally Shushan
                                                §
                        Crawford v. BP, P.L.C., §
                             No. 2:10-CV-1540 §


                                  NOTICE OF SUBMISSION

TO:      Counsel

         PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25, in which the

Court directed that the Court will set the date of all hearings on Motions in this case, the Motion

of Defendant M-I L.L.C. to Dismiss the Complaint of Douglas Crawford pursuant to Fed. R. Civ.

P. 12(b)(6) is tentatively noticed for submission on May 25, 2011, at 9:30 a.m.

                                      Respectfully submitted,

                                              MORGAN, LEWIS & BOCKIUS LLP


                                              By:      /s/ Hugh E. Tanner

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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Notice of Submission has been served on
All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 11th day of March, 2011.


                                                            /s/ Hugh E. Tanner
                                                            Hugh E. Tanner




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